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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND


 Albert Brown                                                      *
       Plaintiff,
                                                                   *
                                                                                                         1:20-cv-00971-CCB
       v.                                                                               Case No.
                                                                   *
 Wayne Jenkins, et al.
       Defendant.                                                  *

                                   DISCLOSURE OF CORPORATE INTEREST


Check all that apply:

 O     I certify, as party/counsel in this case that
                                                                Wayne E. Jenkins and Jemell Rayam
                                                                                                  (name of party)

is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103.3 (D. Md.).




       The following corporate affiliations exist with                                                                       :
                                                                                                     (name of party)



                                                                                                                             .
                                                      (names of affiliates)




    The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:

                                                                                                                             .
                                          (names of entities with possible financial interests)




DisclosureCorpInterest (03/2015)
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Disclosure of Corporate Interest




    In a case based on diversity jurisdiction, the following is a list of all members of

________________________________ and their states of citizenship:
           (name of LLC party)



___________________________________                    ____________________________________
           (name of member)                                                                (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                                                (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                                                (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                                                (state of citizenship)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper.




April 16, 2020                                         /s/
Date                                                   Signature
                                                       Neil E. Duke, Bar No. 14073
                                                       Printed name and bar number
                                                       Baker, Donelson, Bearman, Caldwell & Berkowitz, PC, 100 Light Street, 19th Floor, Baltimore, MD 21202




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